320 F.2d 914
    Alice Marie HANCOXv.UNITED STATES of America.
    No. 7352.
    United States Court of Appeals Tenth Circuit.
    May 16, 1963.
    
      Appeal from the United States District Court for the District of Kansas.
      John E. Royston, Kansas City, Kan., for appellant.
      Benjamin E. Franklin, Asst. U. S. Atty., Topeka, Kan., for appellee.
      Before MURRAH, Chief Judge, and BREITENSTEIN, Circuit Judge.
      PER CURIAM.
    
    
      1
      Docketed and dismissed May 16, 1963, on motion of appellee, for failure to prosecute.
    
    